Case 6:06-cv-00559-LED-JDL Document 24 Filed 05/31/07 Page 1 of 2 PageID #: 336



                            IN THE UNITED STATES DISTRICT COURT

                             FOR THE EASTERN DISTRICT OF TEXAS

                                           TYLER DIVISION


 ARTHUR CARSON, #517349                              §

 VS.                                                 §                  CIVIL ACTION NO. 6:06cv559

 DIANNE JOHNSON, ET AL.                              §


                                        ORDER OF DISMISSAL

         Plaintiff Arthur Carson, a prisoner confined in the Texas prison system, proceeding pro se and

 in forma pauperis, filed this civil rights lawsuit pursuant to 42 U.S.C. § 1983. The complaint was

 referred to United States Magistrate Judge John D. Love, who issued a Report and Recommendation

 concluding that the complaint should be dismissed. The Plaintiff has filed objections.

         The Report of the Magistrate Judge, which contains proposed findings of fact and

 recommendations for the disposition of such action, has been presented for consideration, and having

 made a de novo review of the objections raised by the Plaintiff, the Court is of the opinion that the

 findings and conclusions of the Magistrate Judge are correct, and the objections by the Plaintiff are

 without merit. Therefore the Court hereby adopts the findings and conclusions of the Magistrate Judge

 as the findings and conclusions of the Court. It is accordingly

         ORDERED that the complaint is DISMISSED with prejudice for purposes of in forma

 pauperis proceedings pursuant to 28 U.S.C. § 1915(g). It is further

         ORDERED that the Plaintiff’s in forma pauperis status is withdrawn. The Plaintiff may

 proceed with the lawsuit if he pays the entire filing fee of $350 within thirty days from the entry of this

 Order. See Carson v. Johnson, 112 F.3d 818, 823 (5th Cir. 1997). It is finally


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Case 6:06-cv-00559-LED-JDL Document 24 Filed 05/31/07 Page 2 of 2 PageID #: 337



       ORDERED that all motions by either party not previously ruled on are hereby DENIED.


 So ORDERED and SIGNED this 31st day of May, 2007.




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                     LEONARD DAVIS
                     UNITED STATES DISTRICT JUDGE




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